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10
                                      UNITED STATES DISTRICT COURT
11
                                   NORTHERN DISTRICT OF CALIFORNIA
12
                                          SAN FRANCISCO DIVISION
13
                                                      )
14   UNITED STATES OF AMERICA,                        )    No.: CR 18-0119 RS
                                                      )
15           Plaintiff,                               )
                                                      )    STIPULATION AND ORDER
16      v.                                            )    CONTINUING MOTION HEARING AND
                                                      )    ADJUSTING BRIEFING SCHEDULE
17   JONATHAN AGUILAR, et al.                         )
         Defendants.                                  )
18                                                    )
                                                      )
19

20           IT IS HEREBY STIPULATED that,
21           For the reasons set forth below, the parties request that the Court vacate the June 14, 2022 Round
22 2 motion hearing and the corresponding briefing schedule for those motions. The parties request that the

23 June 14, 2022 status hearing go forward as scheduled and that the Court reset the Round 2 motion

24 hearing and briefing schedule at that status hearing.

25           The US attorney’s office is in ongoing communication with Department of Justice components
26 in Washington, DC, which could affect resolutions of the case as to one or more defendants and/or moot

27 one or more of the defense’s contemplated Round 2 motions. The government has informed the defense

28 of these potential developments in the government’s litigation position. To promote judicial economy,
     STIP AND ORDER [CR 18-0119                       1
     RS]
              Case 3:18-cr-00119-RS Document 448 Filed 05/06/22 Page 2 of 3




 1 avoid unnecessary litigation, and allow the parties to consider how the potential developments in case

 2 posture might facilitate resolutions for one or more defendants, the parties respectfully request that this

 3 Court vacate the Round 2 motions hearing and briefing schedule.

 4

 5          SO STIPULATED.

 6 Dated: May 5, 2022                                      STEPHANIE M. HINDS
                                                           United States Attorney
 7

 8                                                   By:          /s/
                                                           ANDREW M. SCOBLE
 9                                                         RICHARD EWENSTEIN
                                                           Assistant United States Attorneys
10

11 Dated: May 5, 2022                                            /s/
                                                           MARTHA BOERSCH
12                                                         Counsel for Jonathan Aguilar
13
     Dated: May 5, 2022                                           /s/
14                                                         JULIA MEZHINSKY JAYNE
                                                           Counsel for Juan Carlos Gallardo
15

16
     Dated: May 5, 2022                                           /s/
17                                                         HARRIS BRUCE TABACK
                                                           Counsel for Orlando Carlos Hernandez
18
     Dated: May 5, 2022                                           /s/
19                                                         MARK GOLDROSEN
                                                           PAM HERZIG
20                                                         DONALD KNIGHT
                                                           AMY P. KNIGHT
21                                                         Counsel for Michael Rebolledo
22
     Dated: May 5, 2022                                          /s/
23                                                         GEORGE C. BOISSEAU
                                                           Counsel for Mario Reyes
24
     Dated: May 5, 2022                                           /s/
25                                                         SHAFFY MOEEL
                                                           JAMES S. THOMSON
26                                                         Counsel for Eddy Urbina
27 Dated: May 5, 2022                                            /s/
                                                           GAIL SHIFMAN
28                                                         Counsel for Weston Venegas
     STIP AND ORDER [CR 18-0119                       2
     RS]
              Case 3:18-cr-00119-RS Document 448 Filed 05/06/22 Page 3 of 3




 1                                           ORDER
 2          THE COURT ORDERS THAT the Round 2 motion hearing set for June 14, 2022 and
 3 corresponding briefing schedule are vacated. The June 14, 2022 status hearing will go forward as

 4 scheduled at 9:30 a.m., and the Round 2 motion schedule will be reset at that time.

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 6          IT IS SO ORDERED.
 7
     DATED: May 6, 2022
 8                                                             HON. RICHARD SEEBORG
                                                               UNITED STATES DISTRICT JUDGE
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     STIP AND ORDER [CR 18-0119                     3
     RS]
